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 ​                                               United States Bankruptcy Court
                                          Eastern District of Virginia, Alexandria Division

 IN RE:                                                                                    Case No. 1:17-bk-13295
 Hunter, Betty D.                                                                          Chapter 13
                                               Debtor(s)

                                     CHAPTER 13 PLAN AND RELATED MOTIONS
This plan, dated December 4, 2017 , is:

     [ ] the first Chapter 13 plan filed in this case.
     [X] a modified Plan that replaces the
          [ ] confirmed or [X] unconfirmed Plan dated October 12, 2017 .

Date and Time of Modified Plan Confirmation Hearing:
1/18/2018 at 9:30 a.m.
Place of Modified Plan Confirmation Hearing:
200 S Washington St, Courtroom II, Alexandria, VA 22314
The plan provisions modified by this filing are:
1, 6 (formerly 5A)
Creditors affected by this modification are:
South Riding Proprietary, Ally Financial, Verizon
1.   Notices

To Creditors:

         Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read this
         plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
         attorney, you may wish to consult one.

         If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
         objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered
         by the

         Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
         confirmation is filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to
         be paid under any plan.

         The following matters may be of particular importance.

         Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an
         item is checked as “Not Included”or if both boxes are checked, the provision will be ineffective if set out later in the
         plan.

A.     A limit on the amount of a secured claim, set out in Section 4.A which may result     [ ] Included    [X] Not included
       in a partial payment or no payment at all to the secured creditor
B.     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security             [ ] Included    [X] Not included
       interest, set out in Section 8.A
C.     Nonstandard provisions, set out in Part 12                                            [ ] Included    [X] Not included



2.   Funding of Plan. The debtor(s) propose to pay the Trustee the sum of $ 1,151.00 per month for 58 months. Other payments to
     the Trustee are as follows: Debtor has already paid $ 2380.00 into the Plan.

     The total amount to be paid into the Plan is $ 69,138.00 .
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3.   Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.
     A. Administrative Claims under 11 U.S.C. § 1326.
         1. The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10%, of all sums received
              under the plan.
         2. Check one box:

          [X]      Debtor(s)’attorney has chosen to be compensated pursuant to the “ no-look”fee under Local Bankruptcy Rule
                   2016-1(C)(1)(a) and (C)(3)(a) and will be paid $ 0.00 balance due of the total fee of $ 3,000.00 concurrently with
                   or prior to the payments to remaining creditors.

          [ ]      Debtor(s) attorney has chosen to be compensated pursuant to Local Bankruptcy Rule 2016-1(C)(1)(c)(ii) and must
                   submit applications for compensation as set forth in the Local Rules.

     B. Claims under 11 U.S.C. §507.
        The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in monthly
        installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid pursuant to 3.C below:


     Creditor                                           Type of Priority                                         Estimated Claim   Payment and Term
     Profess Acct                                       Taxes                                                          300.00               300.00
                                                                                                                                            1 mos

     C. Claims under 11 U.S.C. § 507(a)(1)

          The following priority creditors will be paid prior to other priority creditors but concurrently with administrative claims
          above.

     Creditor                                           Type of Priority                                         Estimated Claim   Payment and Term



4.   Secured Creditors: Motions to Value Collateral (“Cramdown”), Collateral being Surrendered, Adequate Protection
     Payments, and Payment of certain Secured Claims.

     A. Motions to Value Collateral (other than claims protected from “  cramdown”by 11 U.S.C. § 1322(b)(2) or by the final
     paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the Court, the Court may grant the
     debtor(s)' motion to value collateral as set forth herein.

     This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from “cramdown”by
     11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)' principal residence] or by the final paragraph of 11 U.S.C. § 1325(a) [motor vehicles
     purchased within 910 days or any other thing of value purchased within 1 year before filing bankruptcy], in which the replacement value is
     asserted to be less than the amount owing on the debt. Such debts will be treated as secured claims only to the extent of the replacement
     value of the collateral. That value will be paid with interest as provided in sub-section 4 D of this section. You must refer to section
     4(D) below to determine the interest rate, monthly payment and estimated term of repayment of any “            crammed down”loan. The
     deficiency balance owed on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 5 of the
     Plan. The following secured claims are to be “  crammed down”to the following values:

                                                                                                     Estimated
     Creditor                       Collateral                                Purchase Date          Debt Bal.                     Replacement Value
     None

     B. Real or Personal Property to be Surrendered. Upon confirmation of the Plan, or before, the debtor(s) will surrender
     his/her/their interest in the collateral securing the claims of the following creditors in satisfaction of the secured portion of such
     creditors' allowed claims. To the extent that the collateral does not satisfy the claim, any timely filed deficiency claim to which
     the creditor is entitled may be paid as a non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic
     stay under § § 362(a) and 1301(a) as to the interest of the debtor(s), any co-debtor(s) and the estate in the collateral .

     Creditor                                              Collateral Description                       Estimated Value      Estimated Total Claim
     None

     C. Adequate Protection Payments. The debtor(s) propose to make adequate protection payments required by 11 U.S.C. §
     1326(a) or otherwise upon claims secured by personal property, until the commencement of payments provided for in sections
     4(D) and/or 7(B) of the Plan, as follows:
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     Creditor
                                                         Document
                                                            Collateral
                                                                       Page 3 ofAdeq.
                                                                                 14 Protection Monthly Payment                      To Be Paid By
     None

     Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
     7(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the order
     for relief).

     D. Payment of Secured Claims on Property Being Retained (except only those loans provided for in section 6 of the Plan):
     This section deals with payment of debts secured by real and/or personal property [including short term obligations, judgments,
     tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each allowed secured
     claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral's replacement value as
     specified in sub-section A of this section, whichever is less, with interest at the rate provided below, the monthly payment
     specified below until the amount of the secured claim has been paid in full. Upon confirmation of the Plan, the valuation
     specified in sub-section A and interest rate shown below will be binding unless a timely written objection to confirmation
     is filed with and sustained by the Court.
                                                                       Approx. Bal. Of Debt or              Interest                      Monthly Payment
     Creditor                    Collateral                            “
                                                                       Crammed Down”Value                      Rate                           & Est. Term


     None

     E. Other Debts. Debts which are (i) mortgage loans secured by real estate which is the debtor(s)' primary residence, or (ii) other
     long term obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default
     in payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 6 of the Plan.

5.   Unsecured Claims.

     A. Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution remaining
     after disbursement to allowed secured and priority claims. Estimated distribution is approximately 100.00 %. The dividend
     percentage may vary depending on actual claims filed. If this case were liquidated under Chapter 7, the debtor(s) estimate
     unsecured creditors would receive a dividend of approximately 100.00 %.

     B. Separately classified unsecured claims.

     Creditor                                           Basis for Classification                           Treatment
     None

6.   Mortgage Loans Secured by Real Property Constituting the Debtor(s)' Primary Residence; Other Long Term Payment
     Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any existing default
     under 11 U.S.C. § 1322(b)(5).

     A. Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors listed below will be
     paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if any, will be paid by the Trustee
     either pro rata with other secured claims or on a fixed monthly basis as indicated below, without interest unless an interest rate
     is designated below for interest to be paid on the arrearage claim and such interest is provided for in the loan agreement. A
     default on the regular contract payments on the debtor(s) primary residence is a default under the terms of the plan.

                                                                               Regular                                                           Monthly
                                                                               Contract      Estimated      Arrearage    Estimated Cure         Arrearage
     Creditor                    Collateral                                    Payment       Arrearage   Interest Rate           Period          Payment
                                 25872 Flintonbridge Dr, Chantilly,
   Cit Bank                      VA 20152-4802                              2,528.10    28,708.47            0.00%              1-32             897.14
South Riding Proprietary             25872 Flintonbridge Dr                        78.00 3579.81                0.00%       pro-rata             pro-rata
     B. Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the regular
     contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such debts shall be
     cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth below.

                                                                               Regular
                                                                               Contract      Estimated      Interest Rate            MonthlyPayment on
     Creditor                    Collateral                                    Payment       Arrearage      on Arrearage           Arreargae & Est. Term


     None

     C. Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate constituting
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     the debtor(s)' principal residence upon which the last scheduled contract payment is due before the final payment under the Plan
     is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. § 1322(c)(2) with interest at the rate
     specified below as follows:

                                                                                Interest               Estimated                                Monthly
     Creditor                      Collateral                                      Rate                    Claim                         Payment & Term
     Internal Revenue              25872 Flintonbridge Dr, Chantilly,                                                                          979.47
     Service                       VA 20152-4802                               3.00%                 18,581.25                                21 mos

7.   Executory Contracts and Unexpired Leases. The debtor(s) move for assumption or rejection of the executory contracts and
     leases and/or timeshare agreements listed below.

     A. Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

     Creditor                                   Type of Contract
     None

     B. Executory Contracts and unexpired leases to be assumed. The debtor(s) assume the following executory contracts. The
     debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition arrearages, if any, through payments
     made pro rata with other priority claims or on a fixed monthly basis as indicated below.

                                                                                                               Monthly Payment                Estimated
     Creditor                                   Type of Contract                                 Arrearage          for Arrears              Cure Period
     None

8.   Liens Which Debtor(s) Seek to Avoid.

     A. The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following judicial liens
     and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a written objection is timely filed
     with the Court, the Court may grant the debtor(s)' motion and cancel the creditor's lien. If an objection is filed, the Court
     will hear evidence and rule on the motion at the confirmation hearing.

     Creditor                                   Collateral                                 Exemption Basis   Exemption Amount        Value of Collateral
     None

     B. Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or will file and
     serve separate adversary proceedings pleadings to avoid the following liens or security interests. The creditor should review the
     notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing here is for
     information purposes only.

     Creditor                           Type of Lien                     Description of Collateral                 Basis for Avoidance
     None

9.   Treatment and Payment of Claims.

     · All creditors must timely file a proof of claim to receive payment from the Trustee.
     · If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
          confirmation of the plan, the creditor may be treated as unsecured for purposes of distribution under the plan. This
          paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case,
          after the debtor(s) receive a discharge.
     ·    If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor
          will be treated as unsecured for purposes of distribution under the plan.
     ·    The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.
     ·    If relief from the automatic stay is ordered as to any item of collateral listed in the plan, then, unless otherwise ordered by
          the court, all payments as to that collateral will cease, and all secured claims based on that collateral will no longer be
          treated by the plan.
     ·    Unless otherwise ordered by the Court, the amount of the creditor’      s total claim listed on the proof of claim controls over any
          contrary amounts listed in the plan.

10. Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
    Notwithstanding such vesting, the debtor(s) may not transfer, sell, refinance, encumber real property or enter into a mortgage
    loan modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
    other creditors to the extent required by the Local Rules of this Court.
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11. Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total of
    $5,000 principal amount during the term of this Plan, weather unsecured or secured, except upon approval of the Court after
    notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the extent required by the Local
    Rules of this Court.

12. Nonstandard Plan Provisions
    [X] None. If “None”is checked, the rest of Part 12 need not be completed or reproduced.

    Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision
    not otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan
    are ineffective.

    The following plan provisions will be effective only if there is a check in the box “Included”in § 1.C.


Dated: December 4, 2017

/s/ Betty D. Hunter                                                   /s/ Neil Spencer Welles
Debtor (Required)                                                     Debtor(s)' Attorney

Joint Debtor (Required)


The Lilly Law Group, PC
10195 Main St Ste I
Fairfax, VA 22031-3415
(571) 432-0300

        By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also
        certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in the Local
        Form Plan, other than any nonstandard provisions included in Part 12.

Exhibits:         Copy of Debtor(s)' Budget (Schedules I and J);
                  Matrix of Parties Served with plan


                                                         Certificate of Service

I certify that on December 4, 2017, I mailed a copy of the foregoing to the creditors and parties in interest on the attached Service
     List.

                                                                        /s/ Neil Spencer Welles
                                                                        Signature

                                                                        The Lilly Law Group, PC
                                                                        10195 Main St Ste I
                                                                        Fairfax, VA 22031-3415
                                                                        (571) 432-0300 Fax: (571) 432-030

Ver. 09/17/09 [effective 12/01/09]
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All Star Legacy LLC                                    Ally Financial
44600 Guilford Dr                                      PO Box 130424
Ashburn, VA 20147-6059                                 Roseville, MN 55113-0004


American Collections E                                 Bk of Amer
205 S Whiting St Ste 500                               PO Box 982235
Alexandria, VA 22304-3632                              El Paso, TX 79998-2235


Capital One                                            Chase Auto
PO Box 30281                                           PO Box 24696
Salt Lake City, UT 84130-0281                          Columbus, OH 43224-0696


Cit Bank                                               Citibank Mortgage
OneWest Bank Mortgage Servicing Attn: Ba               6900 Beatrice Dr
2900 Esperanza Xing                                    Kalamazoo, MI 49009-9559
Austin, TX 78758-3658

Comcast                                                Comenity Bank
8029 Corporate Dr                                      Bankruptcy Department
Nottingham, MD 21236-4977                              PO Box 182125
                                                       Columbus, OH 43218-2125

Comenity Bank/Dressbrn                                 DC DMV Adjudication Services
PO Box 182789                                          PO Box 2014
Columbus, OH 43218-2789                                Washington, DC 20013-2014


Eastern Account System                                 Fair Oaks Emergency Physicians PLLC
75 Glen Rd Ste 110                                     3600 Joseph Siewick Dr
Sandy Hook, CT 06482-1175                              Fairfax, VA 22033-1709


Golinowski & Colarusso                                 INOVA Health System
4015 Chain Bridge Rd                                   2990 Telestar Ct
Fairfax, VA 22030-4110                                 Falls Church, VA 22042-1207


Internal Revenue Service                               McCabe, Weisberg And Conway, LLC
PO Box 7346                                            312 Marshall Ave Ste 800
Philadelphia, PA 19101-7346                            Laurel, MD 20707-4808


OneWest Bank, FSB                                      Profess Acct
Attn.: Bankruptcy Department                           633 W Wisconsin Ave
2900 Esperanza Xing                                    Milwaukee, WI 53203-1918
Austin, TX 78758-3658

Quantum3 Group LLC as Agent for                        Raymond Ceresa PC
Sadino Funding, LLC                                    20605 Gordon Park Sq
PO Box 788                                             Ashburn, VA 20147-3146
Kirkland, WA 98083-0788

Segan Mason & Mason                                    Segan Mason & Mason
7010 Little River Tpke Ste 700                         7010 Little River Turnpike, Ste 270
Annandale, VA 22003-3241                               Annandale, VA 22003-3249
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Shapiro & Brown, LLP                                South Riding Proprietar
10021 Balls Ford Rd Ste 200                         43055 Center St
Manassas, VA 20109-2666                             South Riding, VA 20152-4492


South Riding Proprietary                            TREASURER, COUNTY of LOUDOUN, VIRGINIA
C/o Service First Management                        1 Harrison St SE Fl 1
12084 Cadet Ct                                      Leesburg, VA 20175-3102
Manassas, VA 20109-7897

Verizon-American InfoSource
4515 N Santa Fe Ave
Oklahoma City, OK 73118-7901
                                                                                Case 17-13295-KHK                     Doc 27          Filed 12/04/17 Entered 12/04/17 19:27:16                                     Desc Main
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                                                                    Fill in this information to identify your case:


                                                                    Debtor 1          Betty
                                                                                      ___ ____D. Hunter
                                                                                              _____ _______ ____ _____ ______ ____ ____________ ____ ______ ____ ____
                                                                                        F irst Name                Middle Name                 Last Name

                                                                    Debtor 2            ___ ____ _____ _______ ____ _____ ______ _________ _______ ____ _____ _____ __
                                                                    (Spouse, if filing) F irst Name                Middle Name                 Last Name


                                                                    United States Bankruptcy Court for the: Eastern District of Virginia, Alexandria Division

                                                                    Case num ber        1:17-bk-13295
                                                                                        ___ ____ _____ ______ _____ _____ ______ ____ _____                                       Check if this is:
                                                                        (If known)
                                                                                                                                                                                      An amended filing
                                                                                                                                                                                      A supplement showing post-petition
                                                                                                                                                                                      chapter 13 income as of the following date:
                                                                                                                                                                                      ________________
                                                                   Official Form 6I                                                                                                   MM / DD / YYYY


                                                                   Schedule I: Your Income                                                                                                                                            12/13
                                                                   Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                   supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                   If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                   separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                    Part 1:           Describe Employment
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                                                                   1.    Fill in your employment
                                                                         information.                                                               Debtor 1                                          Debtor 2 or non-filing spouse

                                                                          If you have more than one job,
                                                                          attach a separate page with
                                                                          information about additional          Employment status                     Employed                                           Employed
                                                                          employers.                                                                  Not employed                                       Not employed
                                                                          Include part-time, seasonal, or
                                                                          self-employed work.
                                                                                                                Occupation                      See Schedule Attached
                                                                                                                                                __________________________________                Permit Drafter
                                                                                                                                                                                                  __________________________________
                                                                          Occupation may Include student
                                                                          or homemaker, if it applies.
                                                                                                                Employer’s name                 __________________________________                Washington Gas ________________
                                                                                                                                                                                                  __________________


                                                                                                                Employer’s address             __ ____ _______ _____ ____ _____ ______ ____ __    101
                                                                                                                                                                                                 ___   Constitution
                                                                                                                                                                                                     _______             Ave NW _____ ______
                                                                                                                                                                                                             ____ _____ __________
                                                                                                                                                 Number Street                                     Number     Street

                                                                                                                                               __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                               ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                               __ ____ _____ ______ _____ _____ ______ ____ __   Washington,
                                                                                                                                                                                                 _____  _____ ______DC   20001-2133
                                                                                                                                                                                                                     _____ ____ _____ ______ ____
                                                                                                                                                 Cit y              State   ZIP Code               City                     State ZIP Code

                                                                                                                How long employed there?              _______                                      1_______
                                                                                                                                                                                                     years and 9 months


                                                                    Part 2:           Give Details About Monthly Income

                                                                          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                          spouse unless you are separated.
                                                                          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                          below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                                                                                                   non-filing spouse
                                                                    2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                           deductions). If not paid monthly, calculate what the monthly wage would be.              2.
                                                                                                                                                                              4,017.26
                                                                                                                                                                           $___________                    4,302.83
                                                                                                                                                                                                      $____________

                                                                    3.     Estimate and list monthly overtime pay.                                                  3.   + $___________
                                                                                                                                                                                0.00              +          0.00
                                                                                                                                                                                                      $____________


                                                                    4.     Calculate gross income. Add line 2 + line 3.                                             4.        4,017.26
                                                                                                                                                                           $__________                     4,302.83
                                                                                                                                                                                                      $____________



                                                                   Official Form 6I                                                        Schedule I: Your Income                                                                page 1
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                                                                   Debtor 1             Betty
                                                                                       ___     D. ____
                                                                                           _______ Hunter
                                                                                                       _____ ______ _____ ____ _______ ____ _____ _____                                          Case numb er          1:17-bk-13295
                                                                                                                                                                                                                (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                       First Name          Middle Name                Last Name



                                                                                                                                                                                                For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                        non-filing spouse

                                                                         Copy line 4 here ............................................................................................   4.          4,017.26
                                                                                                                                                                                                 $___________                    4,302.83
                                                                                                                                                                                                                            $_____________

                                                                   5.    List all payroll deductions:

                                                                          5a. Tax, Medicare, and Social Security deductions                                                              5a.          388.46
                                                                                                                                                                                                $____________                    842.90
                                                                                                                                                                                                                           $_____________
                                                                          5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                          5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                          5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                          5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                          5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________

                                                                          5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________

                                                                          5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                         0.00          +          0.00
                                                                                                                                                                                                                           $_____________

                                                                    6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.            388.46
                                                                                                                                                                                                $____________                    842.90
                                                                                                                                                                                                                           $_____________

                                                                    7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.          3,628.80
                                                                                                                                                                                                $____________                   3,459.93
                                                                                                                                                                                                                           $_____________
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                                                                    8.   List all other income regularly received:
                                                                          8a. Net income from rental property and from operating a business,
                                                                              profession, or farm
                                                                              Attach a statement for each property and business showing gross
                                                                              receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                     1,225.16
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                              monthly net income.                                                                                        8a.
                                                                           8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                                                                                                                                                                                  0.00
                                                                          8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                              regularly receive
                                                                              Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                        0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                              settlement, and property settlement.                                  8c.
                                                                          8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                          8e. Social Security                                                                                            8e.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                           8f. Other government assistance that you regularly receive
                                                                               Include cash assistance and the value (if known) of any non-cash assistance
                                                                               that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                               Nutrition Assistance Program) or housing subsidies.
                                                                               Specify: ___________________________________________________ 8f.

                                                                           8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                $____________                   1,619.94
                                                                                                                                                                                                                           $_____________

                                                                           8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________
                                                                                                                                                                                                         0.00            + $_____________
                                                                                                                                                                                                                                  0.00
                                                                    9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          1,225.16
                                                                                                                                                                                                $____________                   1,619.94
                                                                                                                                                                                                                           $_____________

                                                                   10. Calculate  monthly income. Add line 7 + line 9.
                                                                         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                    4,853.96
                                                                                                                                                                                                $___________       +             5,079.87 = $_____________
                                                                                                                                                                                                                            $_____________       9,933.83

                                                                   11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                         Include contributions from an unmarried partner, members of your household, your dependents , your roommates, and
                                                                         other friends or relatives.
                                                                         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                         Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                           0.00
                                                                   12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        9,933.83
                                                                                                                                                                                                                                                     $_____________
                                                                                                                                                                                                                                                     Combined
                                                                                                                                                                                                                                                     monthly income
                                                                    13. Do     you expect an increase or decrease within the year after you file this form?
                                                                               No.
                                                                                              None
                                                                               Yes. Explain:


                                                                     Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
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                                                                   IN RE Hunter, Betty D.                                                                Case No. 1:17-bk-13295
                                                                                                               Debtor(s)

                                                                                             SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                      Continuation Sheet - Page 1 of 1
                                                                   EMPLOYMENT:           DEBTOR                                                SPOUSE
                                                                   Occupation            Caregiver
                                                                   Name of Employer      Capital Home Care
                                                                   How long employed     2 years and 9 months
                                                                   Address of Employer   14820 Physicians Ln # 242
                                                                                         Rockville, MD 20850-3952

                                                                   Occupation            Cashier
                                                                   Name of Employer      Priority Nissan Chantilly
                                                                   How long employed     3 years and 2 months
                                                                   Address of Employer   14840 Stonecroft Center Ct
                                                                                         Chantilly, VA 20151-1737
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                                                                        Fill in this information to identify your case:

                                                                        Debtor 1           Betty
                                                                                          ___      D.____
                                                                                              _______ Hunter
                                                                                                          _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                           First Name                  Middle Name                  Last Name                             Check if this is:
                                                                        Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                        (Spouse, if filing) First Name                 Middle Name                  Last Name
                                                                                                                                                                                              An amended filing
                                                                                                                                                                                              A supplement showing post-petition chapter 13
                                                                        United Sta tes Bankruptcy Court for th e: Eastern District of Virginia, Alexandria Division                           expenses as of the following date:
                                                                                                                                                                                              ________________
                                                                        Case num ber        1:17-bk-13295
                                                                                           ___ ____ _____ ______ _____ _____ ______ _______ __                                                MM / DD / YYYY
                                                                         (If known)
                                                                                                                                                                                              A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                              maintains a separate household
                                                                   Official Form 6J
                                                                   Schedule J: Your Expenses                                                                                                                                              12/13

                                                                   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                   information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                   (if known). Answer every question.

                                                                    Part 1:               Describe Your Household

                                                                   1.    Is this a joint case?

                                                                              No. Go to line 2.
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                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                           No
                                                                                           Yes. Debtor 2 must file a separate Schedule J.

                                                                   2.    Do you have dependents?                          No                                          Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                         Do not list Debtor 1 and                         Yes. Fill out this information for Debtor 1 or Debtor 2                               age            with you?
                                                                         Debtor 2.                                        each dependent..........................
                                                                                                                                                                                                                                   No
                                                                         Do not state the dependents’                                                                 niece
                                                                                                                                                                      _________________________                 19
                                                                                                                                                                                                                ________
                                                                         names.                                                                                                                                                    Yes

                                                                                                                                                                      _________________________                 ________           No
                                                                                                                                                                                                                                   Yes

                                                                                                                                                                      _________________________                 ________           No
                                                                                                                                                                                                                                   Yes

                                                                                                                                                                      _________________________                 ________           No
                                                                                                                                                                                                                                   Yes

                                                                                                                                                                      _________________________                 ________           No
                                                                                                                                                                                                                                   Yes

                                                                   3.    Do your expenses include
                                                                                                                          No
                                                                         expenses of people other than
                                                                         yourself and your dependents?                    Yes

                                                                   Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                   Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                   expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                   applicable date.
                                                                   Include expenses paid for with non-cash government assistance if you know the value of
                                                                   such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                             Your expenses

                                                                    4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                           any rent for the ground or lot.                                                                                                4.
                                                                                                                                                                                                                        2,528.00
                                                                                                                                                                                                                  $_____________________

                                                                           If not included in line 4:
                                                                           4a.    Real estate taxes                                                                                                       4a.             0.00
                                                                                                                                                                                                                  $_____________________
                                                                           4b.    Property, homeowner’s, or renter’s insurance                                                                            4b.             0.00
                                                                                                                                                                                                                  $_____________________
                                                                           4c.    Home maintenance, repair, and upkeep expenses                                                                           4c.            542.00
                                                                                                                                                                                                                  $_____________________

                                                                           4d.    Homeowner’s association or condominium dues                                                                             4d.            78.00
                                                                                                                                                                                                                  $_____________________

                                                                        Official Form 6J                                                  Schedule J: Your Expenses                                                                  page 1
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                                                                    Debtor 1            Betty
                                                                                        ___     D. Hunter
                                                                                            _______ ____ _____ ______ _____ ____ _______ ____ _____ _____          Case numb er          1:17-bk-13295
                                                                                                                                                                                  (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                                                                                                                                                   Your expenses

                                                                                                                                                                                                  $_____________________
                                                                                                                                                                                                          0.00
                                                                    5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                    6.    Utilities:
                                                                           6a.     Electricity, heat, natural gas                                                                         6a.            400.00
                                                                                                                                                                                                  $_____________________
                                                                           6b.     Water, sewer, garbage collection                                                                       6b.            50.00
                                                                                                                                                                                                  $_____________________
                                                                           6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            510.00
                                                                                                                                                                                                  $_____________________

                                                                           6d.     Other. Specify: _______________________________________________                                        6d.             0.00
                                                                                                                                                                                                  $_____________________

                                                                    7.    Food and housekeeping supplies                                                                                  7.             700.00
                                                                                                                                                                                                  $_____________________

                                                                    8.    Childcare and children’s education costs                                                                        8.              0.00
                                                                                                                                                                                                  $_____________________
                                                                    9.    Clothing, laundry, and dry cleaning                                                                             9.             150.00
                                                                                                                                                                                                  $_____________________
                                                                   10.    Personal care products and services                                                                             10.            200.00
                                                                                                                                                                                                  $_____________________
                                                                   11.    Medical and dental expenses                                                                                     11.            200.00
                                                                                                                                                                                                  $_____________________
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                                                                   12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                         343.00
                                                                                                                                                                                                  $_____________________
                                                                          Do not include car payments.                                                                                    12.

                                                                   13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.            40.00
                                                                                                                                                                                                  $_____________________
                                                                   14.     Charitable contributions and religious donations                                                               14.            20.00
                                                                                                                                                                                                  $_____________________

                                                                   15.     Insurance.
                                                                           Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                           15a .   Life insurance                                                                                         15a .           0.00
                                                                                                                                                                                                  $_____________________
                                                                           15b .   Health insurance                                                                                       15b .           0.00
                                                                                                                                                                                                  $_____________________
                                                                           15c.    Vehicle insurance                                                                                      15c.           330.00
                                                                                                                                                                                                  $_____________________
                                                                           15d .   Other insurance. Specify:_______________________________________                                       15d .           0.00
                                                                                                                                                                                                  $_____________________

                                                                   16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                         87.00
                                                                                                                                                                                                  $_____________________
                                                                                     Personal Property Taxes
                                                                           Specify: ______________________________________
                                                                                                                         __________________                                               16.


                                                                   17.    Installment or lease payments:

                                                                           17a .   Car payments for Vehicle 1                                                                             17a.           150.00
                                                                                                                                                                                                  $_____________________

                                                                           17b .   Car payments for Vehicle 2                                                                             17b .          500.00
                                                                                                                                                                                                  $_____________________

                                                                           17 c.   Other. Specify:_________________________________
                                                                                                                                  ______________                                          17c.            0.00
                                                                                                                                                                                                  $_____________________

                                                                           17 d.   Other. Specify:_________________________________
                                                                                                                                  ______________                                          17d .           0.00
                                                                                                                                                                                                  $_____________________

                                                                   18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                     0.00
                                                                                                                                                                                                  $_____________________
                                                                          your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                   19.    Other payments you make to support others who do not live with you.                                                            400.00
                                                                                                                                                                                                  $_____________________
                                                                          Specify:_______________________________________________________
                                                                                   payment for support of additional dependent not living at ho                                            19.

                                                                   20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                           20a .   Mortgages on other property                                                                           20 a.            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20b .   Real estate taxes                                                                                     20b .            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20c.    Property, homeowner’s, or renter’s insurance                                                          20c.             0.00
                                                                                                                                                                                                  $_____________________

                                                                           20d .   Maintenance, repair, and upkeep expenses                                                              20d .            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20e .   Homeowner’s association or condominium dues                                                           20e .            0.00
                                                                                                                                                                                                  $_____________________



                                                                         Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                   0.00
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                                                                     Debtor 1          Betty
                                                                                      ___     D. ____
                                                                                          _______ Hunter
                                                                                                      _____ ______ _____ ____ _______ ____ _____ _____             Case numb er          1:17-bk-13295
                                                                                                                                                                                  (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                      First Name    Middle Name          Last Name




                                                                    21.     Other. Specify: ________________________________
                                                                                            See Schedule Attached           _________________                                            21 .           36.00
                                                                                                                                                                                                +$_____________________

                                                                    22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                       7,264.00
                                                                                                                                                                                                  $_____________________
                                                                           The result is your monthly expenses.                                                                          22 .




                                                                    23.   Calculate your monthly net income.
                                                                                                                                                                                                        9,933.83
                                                                                                                                                                                                   $_____________________
                                                                          23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                          23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                        7,264.00

                                                                          23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                        2,669.83
                                                                                                                                                                                                   $_____________________
                                                                                 The result is your monthly net income.                                                                 23c.




                                                                    24.    Do you expect an increase or decrease in your expenses within the year after you file this form?
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                                                                           For example, do you expect to finish paying for your car loan within the year or do you expect your
                                                                           mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                              No.
                                                                              Yes.    None




                                                                          Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
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                                                                                                      Debtor(s)

                                                                                       SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                           Continuation Sheet - Page 1 of 1

                                                                   Other Expenses (DEBTOR)
                                                                   Postage                                                                                                 10.00
                                                                   Professional Dues                                                                                       26.00
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